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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


PAUL WEST,                                  )
                                            )
             Plaintiff,                     )
                                            )
VS.                                         )
                                            )            CIVIL ACTION NO.
R&K ENTERPRISE SOLUTIONS,                   )
JC CONNORS, and STEVEN                      )            3:23-CV-1371-G-BN
PICKEL,                                     )
                                            )
             Defendants.                    )




           ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
      RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       After making an independent review of the pleadings, files and records in this

case, and the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge dated July 19, 2024,* the court finds that the Findings, Conclusions,

and Recommendation of the Magistrate Judge are correct, and they are accepted as the

Findings, Conclusions, and Recommendation of the court.

       IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge are accepted. Accordingly, it is

FURTHER ORDERED that the plaintiff may file an amended complaint to replead



        *
               No objections were filed.
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those claims dismissed without prejudice, if he can, no later than September 11, 2024. If

the plaintiff fails to do so, any of these claims that he does not replead will be dismissed

with prejudice without further notice.

      SO ORDERED.

August 21, 2024.

                                         ___________________________________
                                         A. JOE FISH
                                         Senior United States District Judge




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